Case 4:11-cr-00143-Y    Document 63     Filed 12/14/11   Page 1 of 1   PageID 171


              IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

UNITED STATES OF AMERICA         §
                                 §
VS.                              §             CRIMINAL NO.     4:11-CR-143-Y
                                 §
JOSE FRANCISCO RUIZ-SANDANTE (2) §
JESUS NAVARRO(4)                 §


                            ORDER ACCEPTING
                   REPORT AND RECOMMENDATION OF THE
                    UNITED STATES MAGISTRATE JUDGE
                    AND ADJUDGING DEFENDANT GUILTY

       After reviewing all relevant matters of record, including the

respective Consents to Administration of Guilty Plea and Federal

Rule    of   Criminal   Procedure      11   Allocution     by   United    States

Magistrate Judge and the Report and Recommendation on Plea Before

the United States Magistrate Judge, and no objections thereto

having been filed by either defendant within fourteen (14) days of

service in accordance with 28 U.S.C. § 636(b)(1), the undersigned

district judge concludes that each report and recommendation of the

magistrate judge on each plea of guilty is correct, and each is

hereby accepted by the Court.          Accordingly, the Court accepts each

plea of guilty, and each defendant is hereby adjudged guilty. Each

defendant’s    sentence    will   be    imposed     in   accordance    with   the

sentencing scheduling order previously issued as to each defendant.

       SIGNED December 14, 2011.


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                                            TERRY R. MEANS
                                            UNITED STATES DISTRICT JUDGE
